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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                      CASE NO. 14CR2018-BTM

                         Plaintiff,
                vs.                            JUDGMENT OF DISMISSAL
LILIAN VERONICA TIXTA,

                         Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

___
  X_ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

_X
 ___ of the offense(s) as charged in the Information:

     8: 1324 (a) (2) (B) (iii)   - Bringing in Illegal Aliens without Presentation



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: JULY 22, 2014
                                                                                 ...
                                               David H. Bartick
                                               U.S. Magistrate Judge
